Case 2:21-cv-01232-GRB-ST Document 23 Filed 03/04/22 Page 1 of 5 PageID #: 114



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                                                                     March 4, 2022

VIA ECF
Hon. Steven Tiscione
United States Magistrate Judge
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

         Re: Jane Doe v. Long Island Motors and David Delvecchio
             Dkt. No. 21-cv-1232 (GRB)(ST)

Your Honor:

       This office represents Plaintiff, Jane Doe, in the above-referenced action. Plaintiff writes
per the Court’s Order dated February 24, 2022 to provide a supplemental letter brief regarding
damages. While it was discussed at the Inquest Hearing that Plaintiff would submit supplemental
information regarding backpay damages, Plaintiff inadvertently overlooked that on December 15,
2021, this Court already ruled that Plaintiff established liability and is entitled to $18,402.14 in
backpay damages, $4,973.50 in attorney’s fees, and Ordered Plaintiff to request an inquest (if
desired) to establish an award for emotional distress and punitive damages (See Dkt. No. 18). As
such, Plaintiff’s below letter brief below only addresses that Plaintiff’s testimony establishes that
emotional distress and punitive damages are proper.

         BRIEF FACTUAL RECAP BASED ON PLAINTIFF (AND HER MOTHER’S) TESTIMONY

        Plaintiff testified that from the moment she met Defendant David Delvecchio at her
interview on May 18, 2020 he began sexually harassing her, which was unwanted, made her
uncomfortable, and caused her emotional distress. Plaintiff specifically testified that Delvecchio,
when Plaintiff’s bag over her shoulder caused her blouse to pull down, made inappropriate and
harassing comments regarding Plaintiff’s tattoos on her midriff. Delvechhio told Plaintiff that he
liked her tattoos, told her she had a nice body and that she was beautiful, and asked whether she
had any other tattoos (which were not visible under Plaintiff’s clothes) and asked to see them.
Plaintiff immediately felt uncomfortable and rejected this advance and did not show him her other
tattoos. Defendant Delvecchio then hired Plaintiff as a car sales associate, which Plaintiff accepted
because she needed a job to support her family.
Case 2:21-cv-01232-GRB-ST Document 23 Filed 03/04/22 Page 2 of 5 PageID #: 115




        During Plaintiff’s first week of employment Plaintiff testified that she could see the
computer screen in Delvecchio’s office which displayed video surveillance cameras placed around
the car dealership. Plaintiff noticed that one of the cameras was directly pointed at and zoomed in
on Plaintiff’s work station, and that no other camera was directly pointed at any other employee’s
work station. Plaintiff again felt uncomfortable and began wearing a hat to work to block
Delvecchio from watching her at her desk. The next day another employee named Jemma, at the
behest of Delvecchio, ordered Plaintiff to not wear a hat to work. Delvecchio then ordered Plaintiff
to move her desk from the back of the office directly next to his office under the guise that he had
to “train” her. However, Delvecchio was not the person who trained Plaintiff – it was another
employee Joanne Peppaceno – who, in fact, trained Plaintiff. Moving Plaintiff’s desk made her
uncomfortable. Plaintiff also spoke with Joanne Peppaceno who once stated to Plaintiff that she
knew Delvecchio “had a thing for black women”.

         From the start of Plaintiff’s employment Delvecchio would call Plaintiff into his office
regularly, sometimes daily, to assign her sham tasks which in reality was him luring Plaintiff into
his office so he could sexually harass and eventually sexually assault her. Delvecchio specifically
assigned Plaintiff’s tasks that would normally be handled by a “porter” (and not a car sales
associate) including taking cars to get tune ups and inspections. Delvecchio would close the door
during these “meetings” so no other employee could hear or see what transpired.

         During these several sham meetings Delvecchio would insentiently tell Plaintiff that she
was beautiful, that she had a nice body, and most horrifically, asked her out on several dates even
after she said no several times, and that if she allowed him to “go down on her” it would be the
“best experience of her life”. Delvecchio told Plaintiff that she was beautiful and had a nice body
at least 3 times per week during her employment. Plaintiff rejected Delvecchio’s advance to go
out on a date with him saying that “she was just here to work.” However, Delvecchio proceeded
to ask Plaintiff out on a date after her initial rejection 3 times per week for remainder of her
employment (just under one month). Plaintiff reported this to Jemma. Delvecchio’s comment that
he desired to perform oral sex on Plaintiff and that it would be the “best experience of her life”
was severe sexual harassment which was unwanted. Plaintiff rejected these advances each time
telling him she was “just there to work” and eventually became “standoffish” to Delvecchio
displaying body language and a demeanor that made it clear she was not interested. Plaintiff would
also ignore him or pretend she did not hear him with hopes the harassment would stop. Plaintiff
even informed Delvecchio she was interviewing elsewhere because of the harassment, to which
Delvecchio responded that he would stop if Plaintiff returned to work. It did not.

       A few days after Plaintiff returned to work, Plaintiff was finishing up tasks in the car lot at
the end of her shift. She was the last employee at work that evening besides Delvecchio. Plaintiff
went to grab her things and go home when Delvecchio called her into his office. When Plaintiff
entered the office, she observed Delvecchio behind his desk who appeared to be masturbating


                                                  2
Case 2:21-cv-01232-GRB-ST Document 23 Filed 03/04/22 Page 3 of 5 PageID #: 116




although she could not 100% see at that moment. Delvecchio then asked Plaintiff if she liked him,
and Plaintiff responded that “you are my boss.” Delvecchio ordered Plaintiff to come to his side
of the desk which Plaintiff now confirmed Delvecchio had, in fact, exposed his penis and was
masturbating Plaintiff immediately said “no, stop” and “I can’t have sex with you”. Plaintiff also
put up her hands in a defensive position gesturing to stop. Delvechhio disregarded this rejection
and grabbed Plaintiff’s hand putting it on his genitals against her will as Plaintiff continued to try
to pull away but could not against his grip. Delvecchio then took his other hand and slid it down
Plaintiff’s pants and inserted his fingers into her anus against her will. Delvecchio then forcibly
moved Plaintiff’s hand up and down on his penis until he ejaculated within a few seconds. Plaintiff
immediately freed herself and ran to the bathroom where she cried and promptly vomited from the
instant trauma and emotional distress she suffered.

        The next day Delvecchio terminated Plaintiff claiming that she was a mess and a problem
to the office. When terminating Plaintiff, Delvecchio stated that he vowed to ensure Plaintiff
would never work for another car dealership again. On her way out, Plaintiff told Joanne that she
had been sexually assaulted. Plaintiff and her mother later lodged a complaint at the local police
precinct and met with detectives for several hours recounting the sexual harassment and assault.

       EMOTIONAL DISTRESS

        Plaintiff suffered severe emotional distress as discussed below which entitles her to a
significant emotional distress damages award even in the absence of a treating mental health
professional. Plaintiff’s testimony was corroborated by her mother who testified similarly to
Plaintiff. Plaintiff testified that she felt powerless by Delvecchio’s conduct. See Bick v. City of
New York, No. 95 Civ. 8781, 1998 WL 190283 (S.D.N.Y. Apr. 21, 1998) ($100,000)
(“devastated” and at times “hysterical,” anxiety, depression, feelings of powerlessness, and
“suicidal ideation”) (emphasis added). Plaintiff further testified that she suffered from anxiety as
a result of the harassment, assault, and termination. See Duarte v. St. Barnabas Hosp., 341 F.
Supp. 3d 306 (S.D.N.Y. 2018) ($125,000) (garden-variety anxiety, sleeplessness, headaches,
stomach aches, and loss of self-esteem); Cross v. New York City Transit Auth., 417 F.3d 241 (2d
Cir. 2005) ($50,000) (garden-variety humiliation, anger, frustration, shame, loss of interest in
family activities, depression, anxiety, and impaired relationships with wife and children).

        Plaintiff also testified that after Delvecchio assaulted her, she began to cry, felt shame,
disgust, became depressed, and vomited in the bathroom. See Lore v. City of Syracuse, 670 F.3d
127 (2d Cir. 2012) ($250,000) (tension headaches, abdominal pain, insomnia, anxiety,
depression, reclusiveness, frequent crying, vomiting, and diarrhea) (emphasis added); Cross v.
New York City Transit Auth., 417 F.3d 241 (2d Cir. 2005) ($50,000) (garden-variety humiliation,
anger, frustration, shame, loss of interest in family activities, depression, anxiety, and impaired
relationships with wife and children). Plaintiff also testified that she began cutting her hair as a


                                                  3
Case 2:21-cv-01232-GRB-ST Document 23 Filed 03/04/22 Page 4 of 5 PageID #: 117




result of the emotional distress she suffered from the assault. See Emamian v. Rockefeller Univ.,
No. 07 CIV. 3919 (DAB), 2018 WL 2849700 (S.D.N.Y. June 8, 2018), judgment entered, No. 07
CIV. 3919 (DAB), 2018 WL 10604748 (S.D.N.Y. Dec. 11, 2018), and aff'd, 971 F.3d 380 (2d Cir.
2020), and aff'd, 823 F. App'x 40 (2d Cir. 2020) ($200,000) (hair loss, pulling out hair,
generalized anxiety disorder, difficulty sleeping, loss of appetite, depression, suicidal
ideation)(emphasis added). Plaintiff also testified she felt degraded by Delvecchio. Smith v.
Tiffany & Co., No. 1B–E–CS–84–97230 (State Div. of Human Rights, Aug. 11, 1995), aff'd, 224
A.D.2d 332, 638 N.Y.S.2d 454 (1st Dep't 1996) ($300,000) (feeling degraded, blow to self-
esteem, severe depression, anxiety, agitation, occasional anorexia, and insomnia).

         Plaintiff and her mother similarly testified that Plaintiff began to withdraw from her family
activities and stopped participating in recreational activities such as shopping. Phillips v. Bowen,
278 F.3d 103 (2d Cir.2002) ($400,000) (daily crying, stomach problems, inability to handle
pressure of dealing with work supervisors, reduced enjoyment of life, and stopped participating
in recreational activities Plaintiff once enjoyed) (emphasis added).

      Accordingly, Plaintiff respectfully requests the Court award Plaintiff a significant
emotional distress damages award in excess of “six figures”.

       PUNITIVE DAMAGES

         Plaintiff seeks a significant punitive damages award given the unconscionable and
abhorrent nature of Delvecchio’s behavior. Under Title VII and the NYSHRL, a prevailing party
is entitled to punitive damages where Defendants “engaged in intentional discrimination...with
malice or reckless indifference to Plaintiff’s federally protected rights. Zimmerman v. Assocs.
First Capital Corp., 251 F.3d 376, 384 (2d Cir. 2001). While the Second Circuit has not recognized
a formula to determine the specific dollar amount, the Supreme Court has delineated several factors
for Courts to consider: (1) the degree of reprehensibility of the defendant's conduct; (2) the
difference between the actual or potential harm suffered by the plaintiff and the punitive
damages award; and (3) the difference between the punitive damages awarded and the civil
penalties imposed in comparable cases." DeCurtis v. Upward Bound Int'l, Inc., No. 09 Civ. 5378
(RJS), 2011 U.S. Dist. LEXIS 114001, 2011 WL 4549412, at *5 (S.D.N. Y Sept. 27, 2011)
(citing BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 575, 116 S. Ct. 1589, 134 L. Ed. 2d 809 (1996).
In sexual assault cases, courts in this Circuit frequently award punitive damages punitive
damages that are equal to or less than compensatory damages. See Mathie v. Fries, 121 F.3d 808,
818 (2d Cir. 1997).

        Here, Delvecchio’s actions were unquestionably reprehensible. Delvecchio acted with
malice and utter disregard for Plaintiff’s rights to be free from sexual harassment and sexual assault
in the work place. From Plaintiff’s initial interview Delvecchio began a campaign of sexual
harassment that did not stop despite Plaintiff rejecting his advances several times and culminated
with him sexually assaulting her. Delvecchio commented that he desired to see Plaintiff’s other
tattoos hidden under her clothes, told her several times per week throughout her employment that

                                                  4
Case 2:21-cv-01232-GRB-ST Document 23 Filed 03/04/22 Page 5 of 5 PageID #: 118




she was beautiful and had a nice body – all of which made Plaintiff uncomfortable. Delvecchio
further repeatedly asked Plaintiff to go on several dates, even after she rejected him the first time
he asked. Delvecchio did not stop harassing Plaintiff despite her numerous objections to her
conduct.

        Most egregious is Delvecchio’s sexual assault on Plaintiff. From the moment Plaintiff
entered his office (at Delvecchio’s request) he had already began masturbating behind his desk.
When Plaintiff told him “no” that she did not want to have sex with him and put up her hands in
defense, Delvecchio grabbed her hands and placed it on his penis. He then began forcibly moving
Plaintiff’s hand on his penis until he ejaculated within a few seconds. Delvecchio also digitally
penetrated Plaintiff’s anus while forcibly grabbing her. For these reasons, Plaintiff respectfully
requests a significant punitive damages award.

      It also should be noted that by defaulting, Defendants have surrendered the opportunity to
demonstrate that financial circumstances should constrain the amount of any such punitive
damages award. See Mathie, 121 F.3d at 816.

       Plaintiff thanks the Court for its time and consideration of the herein matters.


                                                      Respectfully submitted,


                                                             /s/
                                                      Joshua M. Friedman, Esq.




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